       Case 1:25-cv-01128-BAH           Document 1     Filed 04/15/25   Page 1 of 25




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 AMERICAN CENTER FOR
 INTERNATIONAL LABOR
 SOLIDARITY,
    1130 Connecticut Ave. NW, #800
    Washington, DC 20036, and

 AMERICAN INSTITUTES FOR
 RESEARCH,
   1400 Crystal Drive
   10th Floor
   Arlington, VA 22202, and

 GLOBAL MARCH AGAINST CHILD
 LABOUR,
   Fluwelen Burgwal 58
   2511 CJ
   The Hague, NL,

            Plaintiffs,

              v.                            Case No.

 LORI CHAVEZ-DEREMER, in her
 official capacity as Secretary of Labor,
     200 Constitution Ave. NW
     Washington, DC 20210, and

 U.S. DEPARTMENT OF LABOR,
    200 Constitution Ave. NW
    Washington, DC 20210,

            Defendants.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.      For decades, Congress has authorized and appropriated money for the Department

of Labor’s Bureau of International Labor Affairs (ILAB) to enter cooperative agreements to

support workers’ rights programs around the world. These programs protect workers and


                                               1
       Case 1:25-cv-01128-BAH            Document 1        Filed 04/15/25      Page 2 of 25




companies in the United States against unfair competition from companies and governments that

violate workers’ rights to free association and collective bargaining, and otherwise use forced

labor, child labor, or other labor rights violations, to gain an unfair advantage in the global

marketplace. ILAB is the world’s largest funder of programs to combat child and forced labor

internationally and one of the largest funders of programs to protect and advance workers’ rights

globally.

       2.      Plaintiffs are nonprofit organizations that operate such programs through

cooperative agreements with ILAB. As of March 1, 2025, ILAB had 69 active cooperative

agreements. Plaintiffs had fifteen of those agreements, which collectively provided them with well

over $100 million in funding for work they performed around the world. That funding has been

crucial to Plaintiffs’ ability to hire and retain qualified staff in the U.S. and abroad, partner with

labor unions and other organizations, engage with national, state, and local governments, and fund

advocacy and organizing efforts across five continents.

       3.      In March 2025, as part of the Department of Government Efficiency’s (DOGE)

slashing of spending programs across the government, the Department of Labor (DOL) terminated

all of ILAB’s cooperative agreements en masse. In letters sent out to ILAB’s partners, including

Plaintiffs, DOL explained that these programs were “terminated,” effective immediately, “for

alignment with Agency priorities and national interest.”

       4.      Neither DOL nor ILAB has articulated any new agency priority. DOL and DOGE

have made clear in public statements, however, that DOL does not plan to reallocate the funds to

another program or otherwise spend the money that Congress specifically appropriated to combat

unfair labor practices or support workers’ rights abroad. Rather—ignoring a century of consensus




                                                  2
       Case 1:25-cv-01128-BAH            Document 1       Filed 04/15/25       Page 3 of 25




on the importance of international labor rights for the competitiveness of American industry and

workers—DOL and DOGE have publicly ridiculed ILAB’s work as “America Last” programs.

       5.      DOL may not lawfully cancel all of ILAB’s ongoing cooperative agreements based

solely on hostility to legislative directives that the executive branch is constitutionally bound to

implement, and it may not refuse to spend money that Congress appropriated for such programs.

DOL’s actions are therefore ultra vires, contrary to law, and arbitrary and capricious.

       6.      As a result of DOL’s unlawful terminations of their cooperative agreements,

Plaintiffs have suffered and will suffer irreparable harm—needing to lay off workers, shutter

offices, and cut ongoing projects. Unless these agency actions are set aside in their entirety,

Plaintiffs will be forced to entirely abandon much of their work protecting against exploitation of

labor abroad. Such an abrupt exit risks undermining progress these organizations have made

toward building worker power and improving labor conditions in countries across the globe. And

it will cause Plaintiffs both reputational and financial harm, including, for some Plaintiffs,

immediate liability and legal risk from broken employment contracts and leases. To avoid these

and other irreparable harms, and to afford Plaintiffs the opportunity to complete the work that

Congress intended them to do, this Court should promptly grant declaratory and injunctive relief.

                                 JURISDICTION AND VENUE

       7.      This Court has jurisdiction under 28 U.S.C. § 1331.

       8.      Venue is proper in this district under 28 U.S.C. § 1391(e)(1)(A) because Defendants

are officers and agencies of the United States and at least one Defendant resides in this district.

                                             PARTIES

       9.      Plaintiff the American Center for International Labor Solidarity (the Solidarity

Center) is a nonprofit labor organization that, among other things, operates programs through

cooperative agreements with ILAB. As of March 1, 2025, the Solidarity Center had eleven active

                                                  3
       Case 1:25-cv-01128-BAH           Document 1        Filed 04/15/25      Page 4 of 25




agreements providing nearly $80 million in funding. That funding is crucial to the Solidarity

Center’s ability to hire and retain qualified staff in the U.S. and abroad, partner with labor unions

and other organizations abroad, engage with governments, and support advocacy and organizing

across five continents by providing funding, technical assistance, training, and legal services.

       10.     Plaintiff the American Institutes for Research (AIR) is a nonpartisan, nonprofit

organization that conducts behavioral and social science research and delivers technical assistance

to solve some of the most urgent challenges in the U.S. and around the world. In its international

labor work, AIR works closely with governments, employers, and workers’ organizations and

unions, among others, to develop and deliver data-driven technical assistance and conduct rigorous

evaluations to strengthen the protection and promotion of workers’ rights and decent work. As of

March 1, 2025, AIR had three active agreements with ILAB to support the implementation of

Mexico’s labor justice reforms and strengthen labor law enforcement in Mexico. Over their

lifetime, those agreements were to provide AIR with close to $60 million in funding for its work

in Mexico, of which roughly $17 million was remaining. AIR’s agreements are essential to its

ability to carry out its work to improve working conditions in Mexico.

       11.     Plaintiff the Global March Against Child Labour (Global March) is a worldwide

network of trade unions, teachers’ organizations, and civil society groups that works toward the

shared development goals of eliminating and preventing all forms of child labor, slavery, and

trafficking and ensuring access by all children to free, meaningful, and good quality public

education. As an international organization with a wide reach in countries across different

continents, Global March uses its knowledge, expertise, and empirical evidence to build the

capacity of its partners around the globe, including governments and civil society groups. As of

March 1, 2025, Global March had one active cooperative agreement with ILAB to build the



                                                 4
         Case 1:25-cv-01128-BAH         Document 1        Filed 04/15/25      Page 5 of 25




capacity of civil society organizations to fight child labor around the world. That cooperative

agreement provides Global March with $4 million in funding for work in Nepal, Peru, and Uganda.

         12.    Defendant Lori Chavez-DeRemer is the Secretary of Labor and is sued in her

official capacity.

         13.    Defendant U.S. Department of Labor is an agency of the United States.

                                  FACTUAL BACKGROUND

         DOL’s Mandate to Support Workers’ Rights and Fight Trafficking and Forced
         Labor Globally

         14.    For nearly a century, the U.S. government has recognized the importance of

international labor rights to American interests. Advocating for fair pay, safe working conditions,

and organizing and bargaining rights for workers abroad helps ensure that American companies

can compete on a fair playing field and, by reducing the need for American workers to compete

with low-wage and exploited labor, helps improve pay and conditions for workers here at home.

See Cong. Res. Serv., Section 307 and Imports Produced by Forced Labor (updated Dec. 10,

2024)1 (explaining that Congress enacted § 307 of the Tariff Act of 1930, which bans the

importation of goods produced by forced labor, “largely to protect domestic labor from competing

with foreign forced labor”); Act of June 18, 1934, ch. 676, 48 Stat. 1182 (in authorizing

membership in the International Labor Organization, recognizing that “progress toward the

solution of the problems of international competition in industry can be made through international

action concerning the welfare of wage earners” and that “the failure of a nation to establish humane

conditions of labor is an obstacle in the way of other nations” pursuing that goal).

         15.    To that end, Congress has consistently legislated to improve the conditions of

workers abroad. Among other things, Congress has for decades supported efforts to monitor and


1
    https://www.congress.gov/crs-product/IF11360.
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         Case 1:25-cv-01128-BAH          Document 1       Filed 04/15/25      Page 6 of 25




combat trafficking, child labor, and forced labor around the globe. See, e.g., 22 U.S.C. § 7112

(instructing Departments of State and Labor to monitor forced and child labor); 6 U.S.C. § 242a

(establishing Center for Countering Human Trafficking in Department of Homeland Security).

Indeed, as the sponsor of one piece of major legislation on trafficking noted, trafficking “is one of

those issues where there has been no gap between us on either side of the aisle. It has united

conservatives, moderates, and liberals in a grand fight to combat the scourge of modern-day

slavery.” See Various Bills and Resolutions Before the H. Comm. on Foreign Aff., 110th Cong.

128 (2007) (statement of Rep. Smith).

         16.     The U.S. has also long emphasized the importance of workers’ rights when

negotiating trade agreements, dating back to the 1994 North American Free Trade Agreement

(NAFTA). Incorporating labor-protection provisions into trade agreements raises labor standards

abroad and, by extension, helps protect American workers from unfair competition. See Cong.

Res. Serv., Worker Rights Provisions in Free Trade Agreements (updated Oct. 25, 2023).2

         17.     By statute, Congress has spread responsibility for addressing trafficking, forced

labor, and other international workers’ rights issues among different agencies, including the

Department of Labor. See, e.g., 19 U.S.C. § 4681 (requiring establishment of Forced Labor

Enforcement Task Force, “chaired by the Secretary of Homeland Security and … comprised of

representatives from such other agencies with relevant expertise, including the Office of the United

States Trade Representative and the Department of Labor, as the President determines

appropriate”).

         18.     Within DOL, ILAB is the home for this work on international labor rights. See

DOL, Secretary’s Order 18-2006, 71 Fed. Reg. 77560 (Dec. 26, 2006) (delegating authority over



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    https://www.congress.gov/crs-product/IF10046.
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          Case 1:25-cv-01128-BAH       Document 1       Filed 04/15/25      Page 7 of 25




international labor issues to the Deputy Undersecretary for International Affairs, the leader of

ILAB).

          19.   ILAB works with governments, civil society groups, unions, and businesses to

strengthen global labor standards, enforce labor commitments in U.S. trade agreements, and

combat practices like child labor, forced labor, and human trafficking, including in U.S. supply

chains.

          20.   Both labor and industry leaders have consistently praised ILAB’s work raising

labor standards around the world and leveling the playing field for American businesses and

workers. See, e.g., Press Release, Am. Apparel & Footwear Ass’n, AAFA Reacts to U.S.

Department of Labor’s Action to Cancel All ILAB Contracts (Mar. 26, 2025)3 (statement from

industry group praising ILAB’s work “to ensure a level playing field for American workers”);

Letter from Richard Trumka & Peter Robinson to Sens. Roy Blunt & Patty Murray (Mar. 8, 2017) 4

(letter from then-Presidents of AFL-CIO and U.S. Council for International Business calling

ILAB’s work “critical to both employers and workers” and requesting continued funding).

          21.   Among other functions, ILAB staff research and produce statutorily mandated

reports on the worst forms of child and forced labor globally; coordinate the U.S. government’s

participation in the International Labor Organization; advise senior government officials on labor

and economic issues abroad, including the effect of trade policies on American workers; and

ensure that U.S. trade agreements are fair for American workers and businesses. See ILAB,

Mission and Offices.5


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  https://www.aafaglobal.org/AAFA/AAFA_News/2025_Press_Releases/
AAFA_Reacts_DOL_Action_Cancel_All_ILAB_Contracts.aspx.
4
  https://uscib.org/uscib-content/uploads/2017/03/Letter-to-Senate-re-ILAB-and-DRL-
funding.pdf.
5
  https://www.dol.gov/agencies/ilab/about-us/mission.
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       Case 1:25-cv-01128-BAH           Document 1        Filed 04/15/25      Page 8 of 25




       22.     Congress has consistently authorized and appropriated funding for ILAB to make

grants to support projects to improve labor rights around the world. In the fiscal year 2024

appropriations bill, Congress authorized ILAB “to administer or operate international labor

activities, bilateral and multilateral technical assistance, and microfinance programs, by or through

contracts, grants, subgrants and other arrangements” and appropriated $81.725 million for it to do

so. Department of Labor Appropriations Act, 2024, Pub. L. No. 118-47, 138 Stat. 641 (Mar. 23,

2024). Congress further specified how those funds should be spent to support such programs

abroad: The statute provided that “not less than $30,175,000 shall be for programs to combat

exploitative child labor internationally and not less than $30,175,000 shall be used to implement

model programs that address worker rights issues through technical assistance in countries with

which the United States has free trade agreements or trade preference programs.” Id.

       23.     Congress has passed similar provisions in DOL funding bills going back decades.

See, e.g., Department of Labor Appropriations Act, 2023, Pub. L. No. 117-328, 136 Stat. 4856

(Dec. 29, 2022); Department of Labor Appropriations Act, 2022, Pub. L. No. 117-103, 136 Stat.

434 (Mar. 15, 2022); Department of Labor Appropriations Act, 2021, Pub. L. No. 116-260, 134

Stat. 155 (Dec. 27, 2020); Department of Labor Appropriations Act, 2003, Pub. L. No. 108-7, 117

Stat. 305 (Feb. 20, 2003).

       24.     Congress continued the authorization and appropriation for ILAB’s international

programming in its most recent continuing resolution. See Full-Year Continuing Appropriations

and Extensions Act, 2025, § 1101(a)(8), Pub. L. No. 119-4, 139 Stat. 11 (Mar. 15, 2025) (extending

authorities and appropriations at the same level as previous fiscal year).

       25.     Legislation implementing the 2018 United States-Mexico-Canada-Agreement—

which President Trump negotiated to contain “the strongest and most far-reaching labor provisions



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         Case 1:25-cv-01128-BAH           Document 1     Filed 04/15/25     Page 9 of 25




of any trade agreement” to date—also tasked ILAB with supporting projects to help achieve the

goals of those labor provisions and appropriated funding for that purpose. See DOL, Labor Rights

and the United States-Mexico-Canada Agreement (USMCA).6 In that legislation, Congress

authorized and appropriated money for ILAB to fund technical assistance projects to “support

reforms of the labor justice system in Mexico, including grants to support worker-focused capacity

building, efforts to reduce workplace discrimination in Mexico, efforts to reduce child labor and

forced labor in Mexico, efforts to reduce human trafficking, efforts to reduce child exploitation,

and other efforts related to implementation of the USMCA.” USMCA Supplemental

Appropriations Act, 2019, Pub. L. No. 116-113, tit. IX, 134 Stat. 98, 100 (Jan. 29, 2020).

         26.     ILAB’s funding for international technical assistance programs ultimately makes

up the majority of the Bureau’s budget.

         27.     ILAB runs its international programming by entering into cooperative agreements

with recipient organizations. Like a grant, a cooperative agreement is a form of federal financial

assistance, although the government is typically more involved in monitoring and accountability

during projects governed by cooperative agreements than projects governed by grants. See 31

U.S.C. §§ 6304–05; 2 C.F.R. § 200.1.

         28.     Through such cooperative agreements, ILAB has funded projects to fight child and

forced labor. These efforts, run in cooperation with non-governmental organizations, governments,

and private-sector businesses, “combat some of the most abusive labor practices” globally. ILAB,

Projects.7 Indeed, ILAB has described itself as “the world’s largest funder of programs to combat

child labor and forced labor around the world.” Marty Walsh, ILAB at 75: A New Era of Global




6
    https://www.dol.gov/agencies/ilab/our-work/trade/labor-rights-usmca.
7
    https://www.dol.gov/agencies/ilab/projects-print.
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       Case 1:25-cv-01128-BAH            Document 1       Filed 04/15/25      Page 10 of 25




Action on Labor Rights, DOL (Oct. 7, 2022).8 And the programs have been remarkably successful.

ILAB has estimated that, since 2000, its projects have contributed to removing more than 86

million children from child labor. Id.

       29.     In recent years, the agency has also funded programs to trace the use of child and

forced labor in supply chains. See DOL, Sweat & Toil: 2024 List of Goods Produced by Child

Labor or Forced Labor & 2023 Findings on the Worst forms of Child Labor 16 (Sept. 2024).9

These programs build on Congress’s direction, in the 2019 reauthorization of the Trafficking

Victims Protection Act, that ILAB should, to the extent possible, focus its reports on child and

forced labor on goods with inputs produced by child and forced labor. See Fredrick Douglass

Trafficking Victims Prevention and Protection Reauthorization Act of 2018, Pub. L. No. 115-425,

tit. I, subtit. D, § 133, 132 Stat. 5472, 5481–82 (Jan. 8, 2019); see also Dep’t of Homeland Security,

Report to Congress: 2024 Updates to the Strategy to Prevent the Importation of Goods Mined,

Produced, or Manufactured with Forced Labor in the People’s Republic of China at 23–24 (July

9, 2024)10 (explaining ILAB’s work, including through supply chain tracing, to help achieve the

goals of the Uyghur Forced Labor Prevention Act).

       30.     ILAB also funds a substantial portfolio of projects to “promote trade partners’

compliance with the labor requirements of U.S. trade agreements and preference programs—




8
  https://web.archive.org/web/20240619210403/https://blog.dol.gov/2022/10/07/ilab-at-75-a-
new-era-of-global-action-on-labor-rights.
9
  https://www.dol.gov/sites/dolgov/files/ILAB/child_labor_reports/tda2023/2023-Sweat-n-Toil-
Magazine-Final.pdf.
10
   https://www.dhs.gov/sites/default/files/2024-
07/2024%20Updates%20to%20the%20Strategy%20to%20Prevent%20the%20Importation%20of
%20Goods%20Mined%2C%20Produced%2C%20or%20Manufactured%20with%20Forced%20
Labor%20in%20the%20People%E2%80%99s%20Republic%20of%20China.pdf.
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       Case 1:25-cv-01128-BAH             Document 1       Filed 04/15/25     Page 11 of 25




helping to ensure a fair global playing field for workers in the United States and around the world.”

ILAB, Projects.

        Plaintiffs’ Programs Supported by ILAB

        31.        Plaintiffs have each received substantial funding from ILAB to support their work

around the world.

        32.        The award documents for each of Plaintiffs’ ILAB cooperative agreements identify

a specific source of funding in the relevant appropriations act to support the commitment of funds

for the project.

        33.        As of March 1, 2025, Plaintiff the Solidarity Center had eleven active cooperative

agreements with ILAB to support projects abroad. In total, those cooperative agreements were

worth nearly $80 million.

        34.        Two of the cooperative agreements concerned projects supporting Mexico’s

historic labor law reforms, which Mexico adopted in 2019 as part of its commitment under the

USMCA. These projects were funded via specific appropriations Congress set aside in the

USMCA Implementation Act. See supra ¶ 25. The projects focused on supporting worker

organizing in the call center, aerospace, mining, auto, and other manufacturing-for-export

industries, as well as strengthening the organizing and institutional capacity of Mexican unions.

So far, the Solidarity Center’s ILAB-funded work in Mexico has helped more than 40,000 workers

organize themselves in democratic and independent unions, engage in transparent collective

bargaining, and achieve significant gains in wages and working conditions, including a 30% wage

increase at a tire plant that exports to the United States. A recent interim evaluation of these

projects, commissioned by ILAB and conducted by an independent consulting group, confirmed

that the Solidarity Center’s “bottom-up” approach had made substantial strides in organizing



                                                   11
       Case 1:25-cv-01128-BAH          Document 1       Filed 04/15/25        Page 12 of 25




workers, strengthening unions, and implementing Mexico’s labor reforms. ILAB, Interim

Evaluation of ILAB-Funded Solidarity Center Protects in Mexico, at xi (Nov. 2024).11 The report

emphasized that this work was “time- and labor-intensive,” and that there would be a “risk to

independent democratic labor unions if funding is no longer available.” Id.

       35.     Several other of the Solidarity Center’s cooperative agreements with ILAB

supported America’s commitments in trade agreements and with its trade partners. For instance,

since 2018, the Solidarity Center has, with funding from ILAB, worked with civil society groups

and workers in the Republic of Georgia—a U.S. trade partner—to improve the knowledge of and

compliance with that country’s labor and workplace safety laws. The Solidarity Center’s work in

the Republic of Georgia concentrated on regions of the country with significant iron, steel, and

wine industries—all large, high-value categories of exports to the United States. This project,

which was authorized and funded through the 2023 Consolidated Appropriations Act, Pub. L. No.

117-328, was set to continue through September 2026.

       36.     The Solidarity Center’s ILAB cooperative agreements also support programs

combatting child and forced labor, including in supply chains for goods that Americans consume.

In one project, the Solidarity Center focused on Uzbekistan’s cotton industry, which is the world’s

sixth largest and which, until recently, was dominated by a government-supported system of forced

labor, including child labor. In Uzbekistan, the Solidarity Center has partnered with workers,

producers, and Uzbekistan’s government to improve working conditions and target continuing

incidents of forced labor in the industry. DOL had recently provided the Solidarity Center with a




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  https://www.dol.gov/sites/dolgov/files/ILAB/evaluation_type/other/1-SC-Mexico-Evaluation-
Report-English-508-Compliant.pdf.
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        Case 1:25-cv-01128-BAH         Document 1       Filed 04/15/25      Page 13 of 25




further $1.1 million in funding for this project, which was set to continue through December 31,

2026.

        37.     As of March 1, 2025, Plaintiff AIR had three active cooperative agreements with

ILAB. These projects focused on helping implement and ensure the success of Mexico’s historic

labor justice reforms and strengthen Mexican labor law enforcement, generally. Each was funded

out of the supplemental appropriations Congress set aside in the USMCA Implementation Act. See

supra ¶ 25. In one project, AIR was working to strengthen the institutional capacity of federal and

state labor inspectorates, including by developing training programs, building technology and data

management tools, and fostering private sector and union enforcement partnerships. In another

project, AIR was focused on increasing the effectiveness of new conciliation mechanisms that

Mexico adopted as part of its labor justice reforms. And in a third, AIR was working to improve

Mexican federal government and union institutional capacity to ensure that union elections and

negotiations are fair and democratic. All of AIR’s labor rights work in Mexico was entirely funded

by ILAB cooperative agreements.

        38.     As of March 1, 2025, Plaintiff Global March had one cooperative agreement with

ILAB. That project provided Global March with $4 million in funding to build the capacity of civil

society organizations around the world to fight child labor. Working with local partners in Nepal,

Peru, and Uganda, Global March was using these funds to support civil society organizations that

advocate for improved child-labor policy; to pilot initiatives to raise awareness and address child

labor in specific geographic areas; and to establish functioning child labor monitoring systems in

each country.




                                                13
         Case 1:25-cv-01128-BAH        Document 1       Filed 04/15/25      Page 14 of 25




         Defendants’ Unlawful Terminations of Plaintiffs’ Cooperative Agreements

         39.    Since March 2025, Defendants have unlawfully terminated all of ILAB’s external

grantmaking and agreements for technical assistance projects, including funding for Plaintiffs’

ongoing work.

         40.    On February 26, 2025, the Office of Management and Budget (OMB) issued a

memorandum to agencies engaging in “foreign assistance,” requesting that agencies work with

grantees and other partners to ensure that each funded project is “align[ed] … with the President’s

America First foreign policy.” See OMB, Budget Data Request No. 25-08.12

         41.    The OMB memorandum directed agencies to require each implementing partner to

fill out a lengthy questionnaire, which included questions such as whether the project “create[s]

measurable benefits for U.S. domestic industries, workforce, or economic sectors,” whether it is

expected to “prevent illegal immigration,” and whether it works to “protect children.” The

memorandum then instructed agencies to score each project on a scale of 180 and develop a

recommendation for the Department of State and OMB about whether to continue, modify, or

terminate each program.

         42.    On or about March 3, ILAB staff reached out to all organizations with active

cooperative agreements or grants and asked them to fill out that questionnaire. ILAB requested

responses from recipients by March 5, 2025.

         43.    Around the same time, ILAB staff asked partners with cooperative agreements,

including some Plaintiffs, to revise agreement materials, including work plans, to comply with

President Trump’s recent Executive Orders governing discrimination, diversity, equity, and

inclusion (e.g., Executive Order No. 14173). ILAB staff provided positive feedback to partners


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     https://media.taftlaw.com/wp-content/uploads/2025/03/26140812/OMB-BDR-Memo.pdf.
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       Case 1:25-cv-01128-BAH            Document 1      Filed 04/15/25      Page 15 of 25




with active projects, including Plaintiffs. For example, on March 13, an ILAB Senior International

Relations Officer wrote to the Solidarity Center to confirm that a project under review was “in

compliance with current active Executive Orders.” At no time did ILAB staff raise any concerns

or indicate that any of Plaintiffs’ agreements were not in alignment and potentially subject to

termination.

       44.     Soon thereafter, Defendants took steps to cancel all of ILAB’s cooperative

agreements, including Plaintiffs’.

       45.     The first notice came on March 13, 2025, when a Grant Officer at ILAB wrote to

Plaintiff the Solidarity Center to announce that ILAB was immediately terminating funding for a

project in Uzbekistan’s cotton industry.

       46.     The termination letter stated that the cooperative agreement “no longer effectuates

the program goals.” The letter went on to assert that the project had faced “significant challenges”

already, and that the resulting delay and increasing complexity “ha[d] undermined the project’s

prospects for achieving its long-term objectives.”

       47.     The statements in the March 13 letter were an abrupt about-face from DOL’s

previous evaluation of the Solidarity Center’s programming in Uzbekistan. Just months earlier, in

December 2024, the Department had sent the Solidarity Center positive feedback and increased

funding by an additional $1.1 million.

       48.     On March 14, 2025, ILAB sent notice that two more of the Solidarity Center’s

awards, for projects in Georgia, Brazil, and Chile, would be terminated immediately. These notices

stated that the agreements were “being terminated pursuant to a directive from the U.S. Department

of Labor Office of the Secretary and Bureau of International Labor Affairs (ILAB) for alignment

with Agency priorities and national interest.” Both letters further claimed that “[t]he decision to



                                                15
       Case 1:25-cv-01128-BAH         Document 1      Filed 04/15/25      Page 16 of 25




terminate this cooperative agreement is a policy determination vested in ILAB leadership and the

Secretary of Labor.”

        49.    That evening, Defendant Chavez-DeRemer posted on the social media site X that

terminating ILAB programs “saved taxpayers $30M by eliminating ‘America Last’ programs in

foreign countries like Indonesia, Colombia, Guatemala, Chile, & Brazil,” and that, “[u]nder

@POTUS, the American Worker ALWAYS comes First.” Secretary Chavez-DeRemer

(@SecretaryLCD), X (Mar. 14, 2025, 6:34 PM).13

        50.    A few minutes later, the official DOGE X account reposted Defendant Chavez-

DeRemer’s message, specifically applauding her for the “[g]reat job” terminating funding for the

Solidarity Center’s grant-supported work in Uzbekistan. See Department of Government

Efficiency (@DOGE), X (Mar. 14, 2025, 6:45 PM). 14

        51.    As it turns out, those initial cancellations represented just the beginning of

Defendants’ wholesale destruction of ILAB’s international programming, including its support for

Plaintiffs’ work. On Wednesday, March 26, John Clark, a political appointee within DOL, directed

ILAB to terminate all of its remaining cooperative agreements due to a “lack of alignment with

agency priorities and national interest.” Lauren Kaori Gurley, Trump administration moves to cut

programs that fight child labor abroad, Wash. Post (Mar. 27, 2025).15 Agency leaders soon

confirmed to ILAB staff that they had “taken a decision to immediately terminate all of ILAB’s

grants.” Id.




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   https://x.com/SecretaryLCD/status/1900677057211736407.
14
   https://x.com/doge/status/1900679742577082799.
15
   https://www.washingtonpost.com/business/2025/03/27/trump-labor-department-international-
child-labor.
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       Case 1:25-cv-01128-BAH           Document 1       Filed 04/15/25      Page 17 of 25




        52.      In total, Defendants canceled 69 ILAB programs combatting child labor, forced

labor, and trafficking, and working to enforce and improve labor standards, in more than 40

countries. Id.

        53.      As a result of this decision, Defendants will not spend millions of dollars that

Congress appropriated for those purposes.

        54.      The official DOGE account on X confirmed that Defendants do not plan to

reallocate or spend those appropriated funds as Congress directed. It congratulated Defendants for

their “[g]reat work … cancelling $577M in ‘America Last’ grants for $237M in savings.”

Department of Government Efficiency (@DOGE), X (Mar. 26, 2025, 4:18 PM). 16

        55.      Defendant Chavez-DeRemer again quoted that post in her own message on X.

There, she threatened to unlawfully “reinvest” the “saved $237M” Congress had appropriated for

international projects “into developing our workforce and protecting our children.” Secretary

Chavez-DeRemer (@SecretaryLCD), X (Mar. 26, 2025, 4:37 PM). 17 She ended the post with

“#AmericaFirst,” followed by an American flag. Id. The Department of Labor account likewise

stated—when sharing a meme targeting an ILAB-funded, International Labor Organization-led

project addressing sexual violence and harassment in the workplace in Lesotho—that “under the

leadership” of Secretary Chavez-DeRemer, “we’re reinvesting this money into the AMERICAN

Workforce.” U.S. Department of Labor (@USDOL), X (Apr. 1, 2025, 12:38 PM). 18

        56.      Defendants began sending termination notices to ILAB recipients that same day.

By that evening at 5:44 p.m., Plaintiff AIR had learned that its $33.45 million project to work with

the Mexican government to support labor justice reform implementation and union capacity to



16
   https://x.com/doge/status/1904991292700123167.
17
   https://x.com/SecretaryLCD/status/1904996097329594713.
18
   https://x.com/USDOL/status/1907110344977236094.
                                                17
         Case 1:25-cv-01128-BAH         Document 1       Filed 04/15/25      Page 18 of 25




comply had been terminated. AIR’s other two cooperative agreements were cancelled the

following morning, March 27.

         57.    Plaintiff the Solidarity Center similarly received notice on March 27 that

Defendants were terminating its eight remaining cooperative agreements with ILAB. Plaintiff

Global March likewise received notice on March 27 that ILAB had terminated its cooperative

agreement.

         58.    Some ILAB partners, including Plaintiff the Solidarity Center, learned about the

loss of crucial ILAB funding through the official DOGE account’s social media post. That post

touted the savings from canceling several Solidarity Center agreements—including “$12.2M for

‘worker empowerment in South America’” and “$6.25M for ‘improving respect for Worker’s

rights in agricultural supply chains’ in Honduras, Guatemala, and El Salvador.” Department of

Government Efficiency (@DOGE), X (Mar. 26, 2025, 4:18 PM). 19

         59.    In this last round of terminations, each notice stated that, “[i]n compliance with 2

CFR 200.340 and the termination conditions of the cooperative agreement,” each agreement was

“being terminated pursuant to a directive from the U.S. Department of Labor Office of the

Secretary and Bureau of International Labor Affairs (ILAB) for alignment with Agency priorities

and national interest.”

         60.    On information and belief, many of the ILAB projects that Defendants cancelled

scored highly on the OMB questionnaire designed to ensure that foreign assistance programs were

aligned with the President’s foreign policy.




19
     https://x.com/DOGE/status/1904991292700123167.
                                                 18
        Case 1:25-cv-01128-BAH           Document 1       Filed 04/15/25       Page 19 of 25




        Injuries to Plaintiff from Defendants’ Unlawful Terminations

        61.    Defendants’ unlawful dismantling of ILAB’s federal financial assistance program

and termination of Plaintiffs’ cooperative agreements have already caused Plaintiffs significant

harm.

        62.    In just the few weeks since Defendants terminated the agreement covering its

project in Uzbekistan, Plaintiff the Solidarity Center has laid off all of that project’s staff. As a

result of that layoff, the Solidarity Center needed to pay to relocate the terminated project director

from Uzbekistan to his native Georgia. And the Solidarity Center has begun taking similar steps

with respect to projects around the world. It has laid off all or the majority of its staff supporting

DOL-funded projects in all implementing countries (Mexico, Brazil, Colombia, Peru, Liberia,

Nigeria, Guatemala, Bangladesh, Philippines, Georgia, and Uzbekistan), had to pay to relocate the

Philippines project director to his home in Sri Lanka, and partially or entirely closed project offices

in Mexico, Liberia, and Brazil. As of March 2025, the Solidarity Center relied on ILAB funding

for approximately 22% of its projected 2025 budget. ILAB funding comprised the majority of the

Solidarity Center’s funding for programs in Mexico (85%), Uzbekistan (100%), Georgia (100%),

Brazil (65%), Colombia (55%), Peru (55%), and Malaysia (70%), and approximately half its

funding for programs in the Philippines, Central America, Bangladesh, Liberia, and Nigeria.

        63.    Because ILAB’s funding makes up such a significant portion of the Solidarity

Center’s operating budget, Defendants’ termination of that funding will force the Solidarity Center

to lay off 40 employees, or 17% of its staff around the world. Because of contractual and other

legal mandates governing its staff and offices both here and abroad, laying off staff will force the

Solidarity Center to incur significant costs. For example, the staff of the Solidarity Center’s

Mexico office are supported almost entirely—about 85%—by ILAB funding under the USMCA


                                                  19
       Case 1:25-cv-01128-BAH          Document 1        Filed 04/15/25      Page 20 of 25




Supplemental Appropriations Act. The Solidarity Center has estimated that it will need to lay off

almost that entire staff, and that it will accordingly owe at least $400,000 in legally mandated

severance, unused benefits, and employer-paid taxes alone.

       64.     Plaintiff AIR likewise has determined that the cancellation of its ILAB funding will

force it to abandon its work supporting labor justice reform implementation and labor law

enforcement, generally, in Mexico. AIR anticipates terminating virtually all of its 64 staff members

in Mexico. It will also be forced to end its intensive cooperation with Mexican federal and state

governments and cancel its subcontract awards with two Mexican universities and two U.S.-based

civil society organizations, totaling roughly $3.39 million. As a result of ILAB agreement

cancellations, AIR also anticipates terminating an additional nine consultants and most or all of

the 18 AIR headquarters-based staff dedicated to the projects.

       65.     Plaintiff Global March has similarly already had to scale back its work since losing

its ILAB funding just weeks ago and will need to do so further absent this Court’s intervention.

Global March anticipates that it will need to reduce staff by 60% in its offices in the Netherlands

and India. Given these cuts, Global March will no longer be able to support its partners’ work with

national governments in Uganda, Peru, and Nepal, including work in the coffee industry and other

crucial supply chains for U.S. companies. As a result, Global March’s partner organization in

Uganda has already determined that it will need to shut its doors entirely, while partners in Nepal

and Peru will need to cut back their staff by 30%.

       66.     This downsizing will force Plaintiffs to abandon many or all of their projects

midstream. Shutting down these programs risks losing the value of the investments that Plaintiffs

and their partners have already made. And because many of Plaintiffs’ projects are at crucial

stages, it will be particularly destructive to Plaintiffs’ reputations and missions if they are shut



                                                20
       Case 1:25-cv-01128-BAH            Document 1         Filed 04/15/25     Page 21 of 25




down immediately. For instance, Plaintiff the Solidarity Center had only secured an agreement

with the Uzbekistan government allowing it to operate inside the country in 2023. Terminating the

Soldarity Center’s Uzbekistan project early will effectively undo that nascent work with that

country’s government, jeopardize the Solidarity Center’s registration and legal status, and make it

impossible to achieve the shared goal of fostering international investment in an ethical cotton

sector in the country.

        67.     Across the globe, Plaintiffs will face severe reputational harm if they are forced to

abruptly abandon their work and partners as a result of Defendants’ unlawful termination of

ILAB’s support. This reputational harm will make it more difficult for Plaintiffs to resume their

work, even if they were later able to secure new funding.

                                             COUNT I
                                            (Ultra Vires)

        68.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

        69.     Article I of the U.S. Constitution vests “[a]ll legislative Powers” in Congress. U.S.

Const. art. I, § 1. Members of the executive branch have no constitutional authority to amend or

override statutes that have been lawfully enacted. Agencies and agency officials may act only

pursuant to authority conferred on them by Congress.

        70.     Several laws, including the USMCA Implementation Act and the Department of

Labor Appropriations Acts for fiscal years 2021, 2022, 2023, and 2024, charge ILAB with

implementing programs that combat child labor and address workers’ rights issues in U.S. trading

partner countries. Congress required ILAB to spend a minimum amount on these priorities, and

only Congress can amend or eliminate this responsibility.




                                                  21
       Case 1:25-cv-01128-BAH            Document 1       Filed 04/15/25     Page 22 of 25




       71.        Defendants exceeded their authority and usurped legislative authority that the

Constitution confers on Congress by terminating all of ILAB’s cooperative agreements and

making it impossible for ILAB to fulfill Congress’s mandate based on a policy disagreement with

that directive.

                                          COUNT II
                         (APA – Contrary to Law – Appropriations Acts)

       72.        The APA directs courts to hold unlawful and set aside agency actions that are “not

in accordance with law.” 5 U.S.C. § 706(2)(A).

       73.        Several laws, including the USMCA Implementation Act and the Department of

Labor Appropriations Acts for fiscal years 2021, 2022, 2023, and 2024, charge ILAB with

implementing programs that address workers’ rights issues in U.S. trading partner countries. By

requiring ILAB to spend a minimum amount on these priorities, Congress made clear that

operating and providing federal financial assistance for such programs is a mandatory duty.

       74.        Defendants acted contrary to those statutes by eliminating ILAB’s entire federal

financial assistance portfolio. Defendants have no authority to violate those statutes based on a

policy disagreement with Congress’s directives

                                         COUNT III
                    (APA – Contrary to Law – The Impoundment Control Act)

       75.        The Administrative Procedure Act (APA) directs courts to hold unlawful and set

aside agency actions that are “not in accordance with law.” 5 U.S.C. § 706(2)(A).

       76.        The Impoundment Control Act requires the executive to make appropriated funds

“available for obligation” unless the President sends a special message to Congress detailing a

request to rescind or reserve funds and Congress then passes a recission bill rescinding the funding.

2 U.S.C. § 683.


                                                  22
       Case 1:25-cv-01128-BAH            Document 1        Filed 04/15/25     Page 23 of 25




       77.        The President has not sent a special message to Congress requesting that the funds

appropriated for ILAB’s international funding programs be rescinded, and Congress has not

rescinded those appropriations.

       78.        The Impoundment Control Act also requires the President to send a special message

to Congress whenever the executive proposes to defer spending appropriated funds, and it prohibits

deferral of any budget authority except to provide for contingencies, to achieve savings made

possible by changed requirements or greater efficiency, or as otherwise specifically provided by

law. Id. § 684.

       79.        The President has not sent a special message to Congress requesting deferral of the

budget authority for ILAB’s federal financial assistance programs, and none of the statutory

circumstances that would permit such a deferral is applicable.

       80.        Defendants’ termination of Plaintiffs’ cooperative agreements despite the

congressional appropriation to support them, as well as their statements that none of the ILAB

appropriations will be spent on the purposes Congress designated, are contrary to the

Impoundment Control Act, in violation of the APA.

                                          COUNT IV
                          (APA – Contrary to Law – Anti-Deficiency Act)

       81.        The APA directs courts to hold unlawful and set aside agency actions that are “not

in accordance with law.” 5 U.S.C. § 706(2)(A).

       82.        The Anti-Deficiency Act provides, in relevant part, that “[i]n apportioning or

reapportioning an appropriation, a reserve may be established only—(A) to provide for

contingencies; (B) to achieve savings made possible by or through changes in requirements or

greater efficiency of operations; or (C) as specifically provided by law.” 31 U.S.C. § 1512(c)(1).



                                                  23
       Case 1:25-cv-01128-BAH           Document 1        Filed 04/15/25      Page 24 of 25




       83.     By refusing to spend funds that Congress has appropriated for ILAB’s

programming, Defendants have acted contrary to the Anti-Deficiency Act, in violation of the APA,

by creating a reserve that is not authorized by any of the Anti-Deficiency Act’s three exceptions.

                                         COUNT V
                               (APA – Arbitrary and Capricious)

       84.     The APA directs courts to hold unlawful and set aside agency actions that are

“arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

       85.     Defendants offered no reasoned explanation for abruptly terminating all of ILAB’s

cooperative agreements supporting programs abroad. Defendants pursued an unreasonable and

unlawful goal of entirely terminating a congressionally mandated program.

       86.     Defendants likewise failed to account for the reliance interests that Plaintiffs, their

partner organizations, and workers—both abroad and, through international competition, back

home—hold in the successful completion of Plaintiffs’ ILAB-supported projects.

       87.     Defendants therefore acted arbitrarily and capriciously by terminating, without

warning or justification, Plaintiffs’ cooperative agreements and forcing them to abandon their

projects, which are consistent with longstanding American labor and trade policy.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

       a.      Declare that Defendants’ mass termination of all of ILAB’s statutorily mandated

grant and cooperative agreement programs is unlawful;

       b.      Vacate Defendants’ ILAB termination notices and order reinstatement of the ILAB

cooperative agreements, including Plaintiffs’ agreements;

       c.      Award Plaintiffs their costs and attorneys’ fees for this action; and

       d.      Grant any other relief as this Court deems appropriate.

                                                 24
      Case 1:25-cv-01128-BAH   Document 1      Filed 04/15/25        Page 25 of 25




Dated: April 15, 2025                     Respectfully submitted,

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                                     25
